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AO 442 (Rev. ll/l l) ArrestWarrant

   

Fi‘i;?é`ii“ "‘ ‘M

UNITED STATES DISTRICT COURT »U, 5 2 2918

 

for the
Middle District of Louisiana - cFBi‘Z{ deems
United States of America
v. ) ,_

) Case No. 18' M'b 'bo\

JAll\/|E GABR|EL GR|N|ALD| PENA, )

a.k.a. “Eric," “Gabriel," and “Chicago" ) l\/\
> v\ - l % ~ /vt] o -
)

Defendant
ARREST WARRANT
'l`o: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

("ame Ofper-FO” 10 be arrested) JA|ME GABRlEL GRl|\/lALDl PENA, a.k.a. “Eric," “Gabrie|," and "Chicago"
who is accused of an offense or violation based on the following document filed with the court:

CI lndictment Cl Superseding indictment Cl lnformation D Supersedinglnformation E{Complaint

lj Probation Violation Petition E] Supervised Release Violation Petition ij Violation Notice D Order of the Court

'l`his offense is briefly described as follows:

Dlstribution of a Contro|led Substance, in violation 0f2‘l U.S.C. § 841 (a)(1).

Q ©Q&E@<
Dare; 05/22/2018 _

suing offi er 's signalu

City and state: Baton Rouge, Louisiana Richard L. Bourgeois, Jr., U.S. Magistrate Judge
Prinled name and title

 

 

Return

 

This warrant was received on (daze) , and the person was arrested on (daze)
at (city and state)

 

Date:

 

Arresting o_)_‘]'icer ’s signature

 

Primed name and title

 

 

 

